               Case 23-13532-RAM          Doc 56      Filed 03/08/24     Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

In re:
Ruben Dario Rivas                                             Case No.: 23-13532-RAM
                                                              Chapter 13
               Debtor.
                                    /

       EXPEDITED MOTION TO APPROVE DEBTOR TO INCUR ADDITIONAL
                  SECURED DEBT TO PURCHASE VEHICLE

Basis for Request for Expedited Hearing: The Debtor is purchasing a secondary vehicle for his
mother and sister to drive as they are his dependents. The Debtor cannot wait until the April
chapter 13 calendar as the current car market is extremely competitive to find a vehicle and
the dealer will not agree to hold the car on their lot unless he is able to close on the purchase
transaction. The plan pays 100% of all allowed unsecured claims.

       COMES NOW the Debtor, Ruben Dario Rivas, by and through the undersigned attorney, and

moves this court to allow the debtor to incur additional debt to purchase a new vehicle and in support

thereof would state as follows:

       1.      The debtor is current under the presently confirmed plan.

       2.      The Debtor is needs a secondary vehicle for his mother and sister who are his

               dependents to drive while he is at work.

       3.      A copy of the loan terms for the purchase is attached to the instant motion as Exhibit

               A. The lender requires court approval to finalize the purchase.

       4.      The Debtor has secured financing under reasonable terms that will not effect the

               Debtor’s ability to make his payments under the confirmed plan. The chapter 13 plan

               already provides for a 100% distribution to all allowed unsecured claims.

       5.      No creditor would be prejudiced by the granting of the instant Motion.

       WHEREFORE, the Debtors prays that this court grant the relief requested based on the
                 Case 23-13532-RAM               Doc 56        Filed 03/08/24        Page 2 of 3




aforementioned grounds.

                                       CERTIFICATE OF SERVICE

I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of Florida
and I am in compliance with the additional qualifications to practice in this court set forth in Local Rule 2090-1.

       I hereby certify that a copy of the foregoing Motion was served in the manner described
below, on July 9, 2019, upon:

Via CM/ECF:
Keith Labell on behalf of Creditor NewRez LLC d/b/a Shellpoint Mortgage Servicing
keith.labell@decubaslewis.com, klabell@raslg.com


Ida Moghimi Kian on behalf of Creditor NewRez LLC d/b/a Shellpoint Mortgage Servicing
southerndistrict@shdlegalgroup.com


Nancy K. Neidich
e2c8f01@ch13miami.com, ecf2@ch13miami.com


Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov


Via US Mail:
BMW Bank of North America, c/o AIS Portfolio Services, LLC
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118


LVNV Funding, LLC
c/o Resurgent Capital Services
P.O. Box 10587
Greenville, SC 29603-05
Via US Mail:

All other parties of record on the creditor matrix attached hereto as Exhibit B.
Case 23-13532-RAM    Doc 56     Filed 03/08/24   Page 3 of 3




           Law Offices of
           NOWACK & OLSON, PLLC
           Attorney for Debtor(s)
           8551 Sunrise Blvd., Suite 208
           Plantation, FL 33322
           (305) 698-2265

           /s/ Mitchell J. Nowack
           MITCHELL J. NOWACK, ESQ.
           Florida Bar Number: 099661
